              Case 23-90897-AKM-11                      Doc 1       Filed 09/13/23            EOD 09/13/23 15:52:02                 Pg 1 of 44


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                KNS Motel, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Fairfield Inn & Suites
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  619 N. Shore Drive
                                  Jeffersonville, IN 47130
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-90897-AKM-11                          Doc 1     Filed 09/13/23              EOD 09/13/23 15:52:02                       Pg 2 of 44
Debtor    KNS Motel, Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
              Case 23-90897-AKM-11                              Doc 1      Filed 09/13/23             EOD 09/13/23 15:52:02                    Pg 3 of 44
Debtor    KNS Motel, Inc.                                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 23-90897-AKM-11          Doc 1       Filed 09/13/23         EOD 09/13/23 15:52:02               Pg 4 of 44
Debtor   KNS Motel, Inc.                                                          Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case 23-90897-AKM-11                     Doc 1         Filed 09/13/23            EOD 09/13/23 15:52:02                   Pg 5 of 44
Debtor    KNS Motel, Inc.                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 13, 2023
                                                  MM / DD / YYYY


                             X /s/ Indravadan Patel                                                       Indravadan Patel
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Michael W. McClain                                                      Date September 13, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael W. McClain
                                 Printed name

                                 Goldberg Simpson LLC
                                 Firm name

                                 9301 Dayflower Street
                                 Prospect, KY 40059
                                 Number, Street, City, State & ZIP Code

                                                                                                    mmcclain@goldbergsimpson.com;
                                 Contact phone     (502) 589-4440                Email address      sdaniel-harkins@goldbergsimpson.com

                                 22464-49 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         KNS Motel, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 13, 2023              X /s/ Indravadan Patel
                                                           Signature of individual signing on behalf of debtor

                                                            Indravadan Patel
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 23-90897-AKM-11                  Doc 1         Filed 09/13/23              EOD 09/13/23 15:52:02                           Pg 7 of 44


 Fill in this information to identify the case:
 Debtor name KNS Motel, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Blueprint rf                                        Invoice No.                                                                                                   $2,369.78
 5555 Oakbrook                                       20232471
 Parkway
 Suite 140
 Norcross, GA 30093
 Carver Hotel Group                                  Invoice S0005758;                                                                                             $2,593.06
 1945 The Exchange                                   6/9/23
 SE                                                  Invoice S0005965;
 Suite 450                                           6/21/23
 Atlanta, GA 30339                                   Invoice S006083;
                                                     6/23/23
 Christina Elias                                                                                                                                                   $1,074.88
 9802 Romules Road
 Abbeville, LA 70510
 DC Elevator                                         Invoice 349878;                                                                                               $1,451.41
 709 Mile Point Way                                  3/21/23
 Lexington, KY 40510                                 Invoice 349879;
                                                     3/21/23
                                                     Invoice 349880;
                                                     3/21/23
                                                     Invoice 355930;
                                                     3/21/23
 Duke Energy                                         Invoice 062023;                                                                                               $3,475.32
 P.O. Box 1326                                       6/26/23
 Charlotte, NC
 28201-1326
 Ecolab                                              Invoice 2119767;                                                                                                $990.00
 26252 Network                                       2/14/23
 Place
 Chicago, IL 60673
 Environmental                                       Multiple invoices                                                                                             $1,735.50
 Laboratories Inc.
 P.O. Box 968
 Madison, IN 47250




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    KNS Motel, Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Freedom Pay                                         Invoice 80364;                                                                                                $3,167.00
 Finance                                             5/19/23
 800 South Harbour
 Island Blvd
 Tampa, FL 33602
 Guest Supply                                        Invoice 15038013;                                                                                             $5,008.80
 P.O. Box 6771                                       11/15/22
 Somerset, NJ
 08875-6771
 HD Supply                                           Multiple invoices                                                                                             $6,305.88
 P.O. Box 509058
 San Diego, CA
 92150-9058
 Indiana Department                                                                                                                                                $1,838.80
 of Revenue
 Government Center
 North
 100 North Senate
 Avenue
 Indianapolis, IN
 46204-2253
 Indravadan Patel                                    Mr. Patel has paid                                                                                          $35,202.57
 4101 Herb Lewis Rd                                  the company's
 Apt. 1105                                           credit card
 Jeffersonville, IN                                  payments from
 47130                                               his own personal
                                                     funds.
 Marriott                                            Multiple invoices                                                                                           $11,260.76
 International Inc.
 (USD)
 10400 Fernwood
 Road
 Bethesda, MD 20817
 Pepsi Cola                                          Invoice 08792664;                                                                                             $2,459.16
 75 Remittance Drive                                 6/16/23
 Suite 1884                                          Invoice 35580361;
 Chicago, IL                                         12/16/22
 60675-1884                                          Invoice 85943609;
                                                     9/15/22
 Republic Services                                   Multiple invoices                                                                                             $1,093.86
 P.O. Box 9001009
 Louisville, KY 40290
 Schindler                                           Invoice                                                                                                       $2,427.83
 7810 Solution                                       8106108495
 Center
 Chicago, IL 60677
 Spectrum (Internet)                                 Multiple invoices                                                                                             $3,750.97
 P.O. Box 6030
 Carol Stream, IL
 60197




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    KNS Motel, Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Spectrum (TV)                                       Invoice                                                                                                       $1,120.17
 P.O. Box 6030                                       0006038040923
 Carol Stream, IL
 60197
 Sysco                                               Invoice 391888458                                                                                             $3,744.00
 P.O. Box 32470
 Louisville, KY
 40232-2470
 Team Travel Source                                  Invoice 26268; 8                                                                                              $9,019.66
 12910 Shelbyville                                   Invoice 9744
 Road
 Suite 215
 Louisville, KY 40243




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            KNS Motel, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        6,100,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            93,078.48

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,193,078.48


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,900,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              1,838.80

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           104,840.41


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,006,679.21




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         KNS Motel, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                                                                     Chase Business Premier
          3.1.     JPMorgan Chase Bank                               Savings                               3625                                     $1,101.04



                                                                     Chase Performance
          3.2.     JPMorgan Chase Bank                               Business Checking                     6058                                     $9,164.44



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $10,265.48
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       KNS Motel, Inc.                                                         Case number (If known)
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                       Net book value of          Valuation method used   Current value of
                                                                    debtor's interest          for current value       debtor's interest
                                                                    (Where available)

39.       Office furniture

40.       Office fixtures
          Whirlpool CEM2745FQ0 - S/N M82605983                                     $0.00                                            $547.00


          Whirlpool CAM2742TQ2 - S/N C03060290                                     $0.00                                            $595.00


          Maytag MAT12CSAAQ - S/N 26241032YF                                       $0.00                                            $585.00



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Alliance DTB634 - S/N 0TCK0001008131                                     $0.00                                          $8,206.00


          Alliance DTB634 - S/N 0TCK0001008132                                     $0.00                                          $8,206.00


          Unimac UW100PVQU10001 - S/N M0200164928                                  $0.00                                         $17,302.00


          State SBD-71-120ONE 118 - S/N10011972                                    $0.00                                          $8,788.00


          Bradford White D100L1993N - S/N JD16489287                               $0.00                                          $2,624.00


          Goodman ARUF36C14BB - S/N 1310244068                                     $0.00                                            $924.00



Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                                       page 2
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Debtor       KNS Motel, Inc.                                                                Case number (If known)
             Name

          Goodman G8X14036KC - S/N 1806585272                                             $0.00                                        $2,193.00


          Hoshizaki KM-515MWJ - S/N H00225B                                               $0.00                                        $2,282.00


          Hoshizaki KM-320MWH - S/N B02262G                                               $0.00                                        $2,895.00


          Dectron CVA-008H-5-MC - S/N B 2013090141                                        $0.00                                        Unknown


          Avantco 178A23FHC - S/N 6301 1712 1807 0621                                     $0.00                                        $1,269.00


          Avantco 178CFD1FF - S/N 6131 1702 1505 0204                                     $0.00                                        $1,349.00


          Avantco 178CFD1RR - S/N 6396 1701 1501
          0164                                                                            $0.00                                        $1,349.00


          Victory VR-1 - S/N N0639708                                                     $0.00                                        $1,199.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $60,313.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2008 Nissan Pathfinder S - S/N
                   5N1AR18BX8C614744                                                      $0.00                                        $7,500.00


          47.2.    2018 Volvo XC90 T5 - S/N
                   YV4102XK3J1323197                                                      $0.00                                       $15,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
           Case 23-90897-AKM-11                    Doc 1         Filed 09/13/23         EOD 09/13/23 15:52:02                 Pg 14 of 44

Debtor        KNS Motel, Inc.                                                             Case number (If known)
              Name



49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                           $22,500.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 619 N. Shore Drive,
                    Jeffersonville, IN
                    47130
                    Tax ID #
                    10-19-00-100-983.000-
                    010                          Fee simple                             $0.00                                         $6,100,000.00




56.        Total of Part 9.                                                                                                         $6,100,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
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Debtor       KNS Motel, Inc.                                                               Case number (If known)
             Name



Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                              page 5
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Debtor          KNS Motel, Inc.                                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $10,265.48

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $60,313.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $22,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $6,100,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $93,078.48          + 91b.            $6,100,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,193,078.48




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
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Fill in this information to identify the case:

Debtor name          KNS Motel, Inc.

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
2.1    First Chatham Bank                           Describe debtor's property that is subject to a lien                   $4,900,000.00             $6,100,000.00
       Creditor's Name                              619 Shore Drive, Jeffersonville, IN 47130
       Attn: SBA Servicing
       111 Barnard Street, #3249
       Savannah, GA 31401
       Creditor's mailing address                   Describe the lien
                                                    First Mortgage
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       March 3, 2022                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9104
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                            $4,900,000.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        U.S. Small Business Administration
        Indiana District Office                                                                               Line   2.1                                   9104
        8500 Keystone Crossing, Suite 400
        Indianapolis, IN 46240




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
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Debtor    KNS Motel, Inc.                                                      Case number (if known)
          Name

      United States Attorney
      SBA Division                                                                     Line   2.1
      10 W. Market Street, Suite 2100
      Indianapolis, IN 46204




Official Form 206D          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property            page 2 of 2
          Case 23-90897-AKM-11                           Doc 1         Filed 09/13/23                  EOD 09/13/23 15:52:02                     Pg 19 of 44

Fill in this information to identify the case:

Debtor name        KNS Motel, Inc.

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $1,838.80         $0.00
          Indiana Department of Revenue                        Check all that apply.
          Government Center North                                 Contingent
          100 North Senate Avenue                                 Unliquidated
          Indianapolis, IN 46204-2253                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
          04/04/2023 - 40/20/2023
          Last 4 digits of account number 5495;5810            Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Operations                       Contingent
          P.O. Box 7346                                           Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 7
                                                                                                               33227
         Case 23-90897-AKM-11                      Doc 1      Filed 09/13/23               EOD 09/13/23 15:52:02                         Pg 20 of 44

Debtor      KNS Motel, Inc.                                                                 Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,369.78
         Blueprint rf                                                 Contingent
         5555 Oakbrook Parkway                                        Unliquidated
         Suite 140                                                    Disputed
         Norcross, GA 30093
                                                                   Basis for the claim: Invoice No. 20232471
         Date(s) debt was incurred 10/31/2022
         Last 4 digits of account number 0000                      Is the claim subject to offset?     No       Yes


3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,593.06
         Carver Hotel Group                                           Contingent
         1945 The Exchange SE                                         Unliquidated
         Suite 450                                                    Disputed
         Atlanta, GA 30339
                                                                   Basis for the claim: Invoice S0005758; 6/9/23
         Date(s) debt was incurred 6/9 - 23/2023
                                                                   Invoice S0005965; 6/21/23
         Last 4 digits of account number                           Invoice S006083; 6/23/23
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $711.51
         Centerpoint Energy                                           Contingent
         P.O. Box 1423                                                Unliquidated
         Houston, TX 77251-1423                                       Disputed
         Date(s) debt was incurred 12/14/2022
                                                                   Basis for the claim: Invoice 12142022; 12/14/22
         Last 4 digits of account number 4122
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $315.00
         Chase Bank                                                   Contingent
         P.O. Box 6294                                                Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred 01/01/2023
                                                                   Basis for the claim:
         Last 4 digits of account number 2022
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,074.88
         Christina Elias                                              Contingent
         9802 Romules Road                                            Unliquidated
         Abbeville, LA 70510                                          Disputed
         Date(s) debt was incurred 07/19/2023
                                                                   Basis for the claim:
         Last 4 digits of account number 23EX
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $464.00
         Cintas Corporation No. 2                                     Contingent
         4310 Metro Parkway                                           Unliquidated
         Suite 300                                                    Disputed
         Fort Myers, FL 33916
                                                                   Basis for the claim:
         Date(s) debt was incurred 06/08/2022
         Last 4 digits of account number 0743                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $880.00
         Dalmation                                                    Contingent
         1651 Watterson Trail                                         Unliquidated
         Louisville, KY 40299                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Invoice 18200666; 9/26/22
         Last 4 digits of account number                           Invoice 18276989; 12/23/22
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 7
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Debtor      KNS Motel, Inc.                                                                 Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,451.41
         DC Elevator                                                  Contingent
         709 Mile Point Way                                           Unliquidated
         Lexington, KY 40510                                          Disputed
         Date(s) debt was incurred 3/31/2023 - 6/1/2023
                                                                   Basis for the claim: Invoice 349878; 3/21/23
         Last 4 digits of account number                           Invoice 349879; 3/21/23
                                                                   Invoice 349880; 3/21/23
                                                                   Invoice 355930; 3/21/23
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $112.44
         Delta Lighting Products                                      Contingent
         2570 Metropolitan Drive                                      Unliquidated
         Feasterville Trevose, PA 19053                               Disputed
         Date(s) debt was incurred 05/04/2023
                                                                   Basis for the claim: Invoice 709612; 5/4/23
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,475.32
         Duke Energy                                                  Contingent
         P.O. Box 1326                                                Unliquidated
         Charlotte, NC 28201-1326                                     Disputed
         Date(s) debt was incurred 06/26/223
                                                                   Basis for the claim: Invoice 062023; 6/26/23
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $990.00
         Ecolab                                                       Contingent
         26252 Network Place                                          Unliquidated
         Chicago, IL 60673                                            Disputed
         Date(s) debt was incurred 02/14/2023
                                                                   Basis for the claim: Invoice 2119767; 2/14/23
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $321.50
         Employers Preferred Insurance                                Contingent
         P.O. Box 842110                                              Unliquidated
         Los Angeles, CA 90084-2110                                   Disputed
         Date(s) debt was incurred 06/07/2023
                                                                   Basis for the claim: Invoice 0000000259; 6/7/23
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,735.50
         Environmental Laboratories Inc.                              Contingent
         P.O. Box 968                                                 Unliquidated
         Madison, IN 47250                                            Disputed
         Date(s) debt was incurred 03/01/2022 - 06/22/2023
                                                                   Basis for the claim: Multiple invoices
         Last 4 digits of account number numerous
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,167.00
         Freedom Pay Finance                                          Contingent
         800 South Harbour Island Blvd                                Unliquidated
         Tampa, FL 33602                                              Disputed
         Date(s) debt was incurred 05/19/2023
                                                                   Basis for the claim: Invoice 80364; 5/19/23
         Last 4 digits of account number 0364
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 7
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Debtor      KNS Motel, Inc.                                                                 Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,008.80
         Guest Supply                                                 Contingent
         P.O. Box 6771                                                Unliquidated
         Somerset, NJ 08875-6771                                      Disputed
         Date(s) debt was incurred 11/15/2022
                                                                   Basis for the claim: Invoice 15038013; 11/15/22
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,305.88
         HD Supply                                                    Contingent
         P.O. Box 509058                                              Unliquidated
         San Diego, CA 92150-9058                                     Disputed
         Date(s) debt was incurred 05/24/2023 - 06/30/2034
                                                                   Basis for the claim: Multiple invoices
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $772.18
         Indiana American Water                                       Contingent
         P.O. Box 6029                                                Unliquidated
         Carol Stream, IL 60197-6029                                  Disputed
         Date(s) debt was incurred 07/14/2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $35,202.57
         Indravadan Patel                                             Contingent
         4101 Herb Lewis Rd                                           Unliquidated
         Apt. 1105                                                    Disputed
         Jeffersonville, IN 47130
                                                                   Basis for the claim: Mr. Patel has paid the company's credit card
         Date(s) debt was incurred 10/20/2022 - 07/13/2023
                                                                   payments from his own personal funds.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $156.07
         Leonard Brush and Chemical                                   Contingent
         1450 Mellwood Avenue                                         Unliquidated
         Louisville, KY 40206                                         Disputed
         Date(s) debt was incurred 12/29/2022
                                                                   Basis for the claim: Invoice 380967
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $11,260.76
         Marriott International Inc. (USD)                            Contingent
         10400 Fernwood Road                                          Unliquidated
         Bethesda, MD 20817                                           Disputed
         Date(s) debt was incurred 05/31/2023 - 07/07/2023
                                                                   Basis for the claim: Multiple invoices
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $226.92
         Orkin                                                        Contingent
         10805 Bluegrass Parkway                                      Unliquidated
         Louisville, KY 40299-2215                                    Disputed
         Date(s) debt was incurred 11/14/2022 - 01/01/2023
                                                                   Basis for the claim: Invoice 237389367; 11/14/22
         Last 4 digits of account number                           Invoice 238020000; 1/31/23
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 7
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Debtor      KNS Motel, Inc.                                                                 Case number (if known)
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,459.16
         Pepsi Cola                                                   Contingent
         75 Remittance Drive                                          Unliquidated
         Suite 1884                                                   Disputed
         Chicago, IL 60675-1884
                                                                   Basis for the claim: Invoice 08792664; 6/16/23
         Date(s) debt was incurred 09/15/2022 - 06/16/2023
                                                                   Invoice 35580361; 12/16/22
         Last 4 digits of account number                           Invoice 85943609; 9/15/22
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $193.51
         PLI Card Marketing Solutions                                 Contingent
         P.O. Box 679814                                              Unliquidated
         Dallas, TX 75267-9814                                        Disputed
         Date(s) debt was incurred 10/26/2022
                                                                   Basis for the claim: Invoice 1422976; 10/26/22
         Last 4 digits of account number 2976
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,093.86
         Republic Services                                            Contingent
         P.O. Box 9001009                                             Unliquidated
         Louisville, KY 40290                                         Disputed
         Date(s) debt was incurred 08/24/2022 - 06/25/2023
                                                                   Basis for the claim: Multiple invoices
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $458.05
         Royal Cup                                                    Contingent
         P.O. Box 841000                                              Unliquidated
          TX 75824-1000                                               Disputed
         Date(s) debt was incurred 06/12/2023
                                                                   Basis for the claim: Invoice 106783890
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,427.83
         Schindler                                                    Contingent
         7810 Solution Center                                         Unliquidated
         Chicago, IL 60677                                            Disputed
         Date(s) debt was incurred 12/01/2022
                                                                   Basis for the claim: Invoice 8106108495
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,750.97
         Spectrum (Internet)                                          Contingent
         P.O. Box 6030                                                Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred 06/26/2022 - 06/26/2023
                                                                   Basis for the claim: Multiple invoices
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,120.17
         Spectrum (TV)                                                Contingent
         P.O. Box 6030                                                Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred 04/09/2023
                                                                   Basis for the claim: Invoice 0006038040923
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 7
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Debtor       KNS Motel, Inc.                                                                        Case number (if known)
             Name

3.29      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $143.74
          Spectrum (Voice)                                                    Contingent
          P.O. Box 6030                                                       Unliquidated
          Carol Stream, IL 60197                                              Disputed
          Date(s) debt was incurred 12/13/2022 - 03/13/2023
                                                                           Basis for the claim: Multiple invoices
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.30      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,744.00
          Sysco                                                               Contingent
          P.O. Box 32470                                                      Unliquidated
          Louisville, KY 40232-2470                                           Disputed
          Date(s) debt was incurred 07/12/2023
                                                                           Basis for the claim: Invoice 391888458
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.31      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,019.66
          Team Travel Source                                                  Contingent
          12910 Shelbyville Road                                              Unliquidated
          Suite 215                                                           Disputed
          Louisville, KY 40243
                                                                           Basis for the claim: Invoice 26268; 8
          Date(s) debt was incurred 10/07/2022 - 04/17/2023
                                                                           Invoice 9744
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.32      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $40.00
          Transsecurity                                                       Contingent
          973 CR 4990                                                         Unliquidated
          Quitman, TX 75783                                                   Disputed
          Date(s) debt was incurred 05/12/2023
                                                                           Basis for the claim:
          Last 4 digits of account number 5428
                                                                           Is the claim subject to offset?     No       Yes

3.33      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $781.45
          Uniguest                                                            Contingent
          P.O. Box 306225                                                     Unliquidated
          Nashville, TN 37230-6225                                            Disputed
          Date(s) debt was incurred 10/01/2022
                                                                           Basis for the claim: Invoice CB1082566
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.34      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $324.88
          Veronica Williams                                                   Contingent
          185 S.W. Arrowhead Terrace                                          Unliquidated
          Lake City, FL 32024                                                 Disputed
          Date(s) debt was incurred 06/01/2023
                                                                           Basis for the claim: Invoice 5202023
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.35      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $688.55
          World Cinema                                                        Contingent
          P.O. Box 733288                                                     Unliquidated
          Dallas, TX 75373-3288                                               Disputed
          Date(s) debt was incurred 05/21/2023
                                                                           Basis for the claim: Invoice S1299693
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.
Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 7
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Debtor      KNS Motel, Inc.                                                                     Case number (if known)
            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                 Total of claim amounts
5a. Total claims from Part 1                                                                       5a.       $                      1,838.80
5b. Total claims from Part 2                                                                       5b.   +   $                    104,840.41

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.       $                       106,679.21




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 7
         Case 23-90897-AKM-11                      Doc 1        Filed 09/13/23            EOD 09/13/23 15:52:02                    Pg 26 of 44

Fill in this information to identify the case:

Debtor name       KNS Motel, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Management
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining          17 months                          CUSA, LLC
                                                                                    Attn: Deborah L. Cannon
           List the contract number of any                                          1300 Ridenour Boulevard, Suite 200
                 government contract                                                Kennesaw, GA 30152


2.2.       State what the contract or            Fairfield Inn & Suites
           lease is for and the nature of        by Marriott Relicensing
           the debtor's interest                 Franchise Agreement

               State the term remaining          11 years
                                                                                    Marriott International, Inc.
           List the contract number of any                                          10400 Fernwood Road
                 government contract                                                Bethesda, MD 20817




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      KNS Motel, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Bharti Patel                                                                          First Chatham Bank                 D
                                                                                                                                   E/F
                                                                                                                                   G




   2.2    Indravadan Patel                                                                      First Chatham Bank                 D
                                                                                                                                   E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         KNS Motel, Inc.

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $960,899.63
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,448,852.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor      KNS Motel, Inc.                                                                     Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




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Debtor      KNS Motel, Inc.                                                                       Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

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Debtor      KNS Motel, Inc.                                                                      Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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Debtor      KNS Motel, Inc.                                                                     Case number (if known)



     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kaushik Patel, LLC                                                                                                 2022
                    310 Passaic Ave., Bldg. A
                    Suite 215
                    Fairfield, NJ 07004

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why


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Debtor      KNS Motel, Inc.                                                                     Case number (if known)



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Indravdan Patel                         4101 Herb Lewis Road                                President and Director                    51%
                                              Apt. 1105
                                              Jeffersonville, IN 47130
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Bharti Patel                            4101 Herb Lewis Road                                Vice President and Secretary              49%
                                              Apt. 1105
                                              Jeffersonville, IN 47130


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund


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Debtor      KNS Motel, Inc.                                                                     Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 13, 2023

/s/ Indravadan Patel                                            Indravadan Patel
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Southern District of Indiana
 In re       KNS Motel, Inc.                                                                                  Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to assign executory contracts and leases; preparation and filing of and
             applications as needed; general representation in chapter 11 case.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtor or its sole member in any adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 13, 2023                                                       /s/ Michael W. McClain
     Date                                                                     Michael W. McClain
                                                                              Signature of Attorney
                                                                              Goldberg Simpson LLC
                                                                              9301 Dayflower Street
                                                                              Prospect, KY 40059
                                                                              (502) 589-4440 Fax: (502) 581-1344
                                                                              mmcclain@goldbergsimpson.com;
                                                                              sdaniel-harkins@goldbergsimpson.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                              Southern District of Indiana
 In re    KNS Motel, Inc.                                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Bharti Patel                                                                      49%                                        Fee Simple
4101 Herb Lewis Road
Apt. 1105
Jeffersonville, IN 47131

Indravdan Patel                                                                   51%                                        Fee simple
4101 Herb Lewis Road
Apt. 1105
Jeffersonville, IN 47130


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 13, 2023                                                  Signature /s/ Indravadan Patel
                                                                                        Indravadan Patel

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                               Verification of Creditor List (rev 12/01/18)
                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA

In re:                                                           )        Case No.
KNS Motel, Inc.                                                  )
                                                                 )            Check if this form is submitted with an amended creditor
                                                                 )        list.
                                                      Debtor(s). )

                                               VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the
creditor list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

Dated: September 13, 2023                                            /s/ Indravadan Patel
                                                                     Indravadan Patel
                                                                     Signature of Debtor


                                                                     Signature of Joint Debtor

(Note: Certificate of Service not required.)
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                           BLUEPRINT RF
                           5555 OAKBROOK PARKWAY
                           SUITE 140
                           NORCROSS, GA 30093




                           CARVER HOTEL GROUP
                           1945 THE EXCHANGE SE
                           SUITE 450
                           ATLANTA, GA 30339




                           CENTERPOINT ENERGY
                           P.O. BOX 1423
                           HOUSTON, TX 77251-1423




                           CHASE BANK
                           P.O. BOX 6294
                           CAROL STREAM, IL 60197




                           CHRISTINA ELIAS
                           9802 ROMULES ROAD
                           ABBEVILLE, LA 70510




                           CINTAS CORPORATION NO. 2
                           4310 METRO PARKWAY
                           SUITE 300
                           FORT MYERS, FL 33916




                           CUSA, LLC
                           ATTN: DEBORAH L. CANNON
                           1300 RIDENOUR BOULEVARD, SUITE 200
                           KENNESAW, GA 30152
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                       DALMATION
                       1651 WATTERSON TRAIL
                       LOUISVILLE, KY 40299




                       DC ELEVATOR
                       709 MILE POINT WAY
                       LEXINGTON, KY 40510




                       DELTA LIGHTING PRODUCTS
                       2570 METROPOLITAN DRIVE
                       FEASTERVILLE TREVOSE, PA 19053




                       DUKE ENERGY
                       P.O. BOX 1326
                       CHARLOTTE, NC 28201-1326




                       ECOLAB
                       26252 NETWORK PLACE
                       CHICAGO, IL 60673




                       EMPLOYERS PREFERRED INSURANCE
                       P.O. BOX 842110
                       LOS ANGELES, CA 90084-2110




                       ENVIRONMENTAL LABORATORIES INC.
                       P.O. BOX 968
                       MADISON, IN 47250
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                       FIRST CHATHAM BANK
                       ATTN: SBA SERVICING
                       111 BARNARD STREET, #3249
                       SAVANNAH, GA 31401




                       FREEDOM PAY FINANCE
                       800 SOUTH HARBOUR ISLAND BLVD
                       TAMPA, FL 33602




                       GUEST SUPPLY
                       P.O. BOX 6771
                       SOMERSET, NJ 08875-6771




                       HD SUPPLY
                       P.O. BOX 509058
                       SAN DIEGO, CA 92150-9058




                       INDIANA AMERICAN WATER
                       P.O. BOX 6029
                       CAROL STREAM, IL 60197-6029




                       INDIANA DEPARTMENT OF REVENUE
                       GOVERNMENT CENTER NORTH
                       100 NORTH SENATE AVENUE
                       INDIANAPOLIS, IN 46204-2253




                       INDRAVADAN PATEL
                       4101 HERB LEWIS RD
                       APT. 1105
                       JEFFERSONVILLE, IN 47130
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                       INTERNAL REVENUE SERVICE
                       CENTRALIZED INSOLVENCY OPERATIONS
                       P.O. BOX 7346
                       PHILADELPHIA, PA 19101-7346




                       LEONARD BRUSH AND CHEMICAL
                       1450 MELLWOOD AVENUE
                       LOUISVILLE, KY 40206




                       MARRIOTT INTERNATIONAL INC. (USD)
                       10400 FERNWOOD ROAD
                       BETHESDA, MD 20817




                       MARRIOTT INTERNATIONAL, INC.
                       10400 FERNWOOD ROAD
                       BETHESDA, MD 20817




                       ORKIN
                       10805 BLUEGRASS PARKWAY
                       LOUISVILLE, KY 40299-2215




                       PEPSI COLA
                       75 REMITTANCE DRIVE
                       SUITE 1884
                       CHICAGO, IL 60675-1884




                       PLI CARD MARKETING SOLUTIONS
                       P.O. BOX 679814
                       DALLAS, TX 75267-9814
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                       REPUBLIC SERVICES
                       P.O. BOX 9001009
                       LOUISVILLE, KY 40290




                       ROYAL CUP
                       P.O. BOX 841000
                       TX 75824-1000




                       SCHINDLER
                       7810 SOLUTION CENTER
                       CHICAGO, IL 60677




                       SPECTRUM (INTERNET)
                       P.O. BOX 6030
                       CAROL STREAM, IL 60197




                       SPECTRUM (TV)
                       P.O. BOX 6030
                       CAROL STREAM, IL 60197




                       SPECTRUM (VOICE)
                       P.O. BOX 6030
                       CAROL STREAM, IL 60197




                       SYSCO
                       P.O. BOX 32470
                       LOUISVILLE, KY 40232-2470
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                       TEAM TRAVEL SOURCE
                       12910 SHELBYVILLE ROAD
                       SUITE 215
                       LOUISVILLE, KY 40243




                       TRANSSECURITY
                       973 CR 4990
                       QUITMAN, TX 75783




                       U.S. SMALL BUSINESS ADMINISTRATION
                       INDIANA DISTRICT OFFICE
                       8500 KEYSTONE CROSSING, SUITE 400
                       INDIANAPOLIS, IN 46240




                       UNIGUEST
                       P.O. BOX 306225
                       NASHVILLE, TN 37230-6225




                       UNITED STATES ATTORNEY
                       SBA DIVISION
                       10 W. MARKET STREET, SUITE 2100
                       INDIANAPOLIS, IN 46204




                       VERONICA WILLIAMS
                       185 S.W. ARROWHEAD TERRACE
                       LAKE CITY, FL 32024




                       WORLD CINEMA
                       P.O. BOX 733288
                       DALLAS, TX 75373-3288
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                                         United States Bankruptcy Court
                                                Southern District of Indiana
 In re   KNS Motel, Inc.                                                              Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for KNS Motel, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 13, 2023                              /s/ Michael W. McClain
Date                                            Michael W. McClain
                                                Signature of Attorney or Litigant
                                                Counsel for KNS Motel, Inc.
                                                Goldberg Simpson LLC
                                                9301 Dayflower Street
                                                Prospect, KY 40059
                                                (502) 589-4440 Fax:(502) 581-1344
                                                mmcclain@goldbergsimpson.com; sdaniel-harkins@goldbergsimpson.com
